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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR09-0084-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   DONATA BAYADOVSKIY,                  )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:               Conspiracy to Commit Bank, Mail and Wire Fraud; Bank Fraud;
                                  Mail Fraud; Wire Fraud; False Statement on Loan Application;
15                                Monetary Transactions Using Criminally Derived Property;
                                  Forfeiture Allegations
16

17 Date of Detention Hearing:     April 14, 2009

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22 / / /


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          (1)    Defendant is charged in a forty count Indictment, together with eight co-

03 conspirators, with the above-listed offenses. The Indictment describes the means and manner of

04 the conspiracy as an agreement to induce “straw buyers”, and other persons who were otherwise

05 unqualified to obtain financing in order to apply for mortgage loans to purchase properties

06 selected by the defendants. By allegedly failing to disclose the true financing arrangements

07 underlying the purchase transactions and by making false and fraudulent representations, lending

08 institutions extended financing, which the defendants diverted to a significant extent to their

09 personal benefit. The government alleges that the defendants undertook efforts to hide the

10 conspiracy and the acts committed in furtherance thereof. The government contends that tens of

11 millions, and perhaps hundreds of millions, of dollars in loan proceeds were fraudulently

12 obtained, a significant portion of which has not been recovered. The government contends that

13 this defendant was a main participant in the conspiracy, that the loss figure (for purposes of the

14 Sentencing Guidelines) is “astronomical”, which will result, if convicted, in a high guidelines

15 range and the likelihood of a lengthy prison term.

16          (2)    The defendant, a naturalized U.S. citizen with dual Israeli citizenship and an

17 Israeli passport, was born in Azerbaijan. She married Vladislav Baydovskiy, a co-defendant, in

18 Israel in 2003 and relocated to the United States. She has traveled to Israel since relocating to

19 this country, and her parents are permanent residents of Israel where her sister also resides. Her

20 parents have custody of her youngest child and are seeking temporary custody of her older child.

21          (3)    The government proffers documents that are purported to show that the fraud

22 activity has not stopped and that the defendant has continued to conduct escrow business. The


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 government’s exhibit suggests that the defendant has an address in Oregon not previously

02 disclosed to pretrial services.

03          (4)    The defendant poses a risk of danger due to a history of foreign travel, a strong

04 connection to another country, possible discrepant information about addresses the defendant is

05 using, and the lack of verification of financial information, including the contention that a very

06 significant portion of the proceeds of the alleged fraud have not been located or recovered. The

07 defendant poses a risk of financial danger due to the nature of the instant allegations, the

08 defendant’s alleged role, and the sophisticated and extensive nature of the alleged scheme.

09          (5)    There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13          (1)    Defendant shall be detained pending trial and committed to the custody of the

14                 Attorney General for confinement in a correction facility separate, to the extent

15                 practicable, from persons awaiting or serving sentences or being held in custody

16                 pending appeal;

17          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

18                 counsel;

19          (3)    On order of a court of the United States or on request of an attorney for the

20                 Government, the person in charge of the corrections facility in which defendant

21                 is confined shall deliver the defendant to a United States Marshal for the purpose

22                 of an appearance in connection with a court proceeding; and


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

02                counsel for the defendant, to the United States Marshal, and to the United States

03                Pretrial Services Officer.

04         DATED this 14th day of April, 2009.



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06                                               Mary Alice Theiler
                                                 United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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